        Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 1 of 24




             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA
__________________________________
                                   )
UNITED STATES OF AMERICA,          )
                                   )
           v.                      )  No. 21-CR-53 (CJN)
                                   )
EDWARD JACOB LANG,                 )
                                   )
                   Defendant.      )
__________________________________ )


           MR. LANG’S MOTION AND REQUEST FOR IMMEDIATE
            TEMPORARY RELEASE ON AN EXPEDITED BASIS

      Now comes Defendant, EDWARD JACOB LANG, by and through his

undersigned counsel, and moves this Court to reopen his detention hearing, pursuant

to 18 U.S.C. § 3142(f), and to order the immediate temporary release of Mr. Lang

from pretrial confinement to the custody of his mother or father, on conditions

suitable to the Court because of the following:

     (1)    various jails have, and continue to, retaliate against Defendant Lang for

            being vocal about his rights being violated, his filing of grievances, and

            for speaking out to others about his pre-trial detention conditions;

     (2)    the Marshals have continued to move Lang from jail-to-jail, without

            justification;

     (3)    when transferred Lang is exposed to a new jail facility imposing blatantly

            punitive and unlawful measures intended to prejudice Defendant’s

                                     Page 1 of 24
        Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 2 of 24




            defense in his criminal case and, worse, to attempt to psychologically

            torture him;

     (4)    the length of Defendant Lang’s pretrial confinement is a violation of his

            due process rights which demands immediate release;

     (5)    the Defendant is being held in conditions of confinement that violate his

            civil and human rights; and

     (6)     the conditions of confinement themselves create an environment that

            make Defendant unable to prepare for his own trial, violating his right to

            a fair trial.

      The urgency of the situation cannot be understated. As set forth below, the

Lewisburg Jail, at this moment, may be in possession of sensitive and confidential

attorney-client information that can irreparably prejudice Defendant in this case.

More importantly, all the jails Lang has been transferred to have engaged in

intentional infliction of attempted psychological torture against Lang, thereby

causing a hostile, damaging and inadequate environment, that creates an

insurmountable ability for Defendant to prepare for trial. Due to the disparity in

resources and the ability to prepare, Lang cannot possibly compete or prepare a

viable defense against the government. While some defendants may chose to leave

their case and defense solely in the hands of their attorneys, Lang is, within his right

to be, hands on. Further, despite limited access to his attorney, and to any resources,

                                      Page 2 of 24
           Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 3 of 24




he has proven himself to be useful in aiding in his defense, by pointing out various

arguments that his legal team did not see at first, such as pointing out clips from a

video.

         The Court must act swiftly to review this motion, and properly order his

immediate release.

                               I.      STATEMENT OF FACTS

         The facts of this case, insofar as pertinent to this application are, for the most

part, contained in Lang’s Motion to Dismiss Case for Lack of Jurisdiction and Due

Process Violations (See ECF Doc. 69), and further updated in Lang’s Reply Motion

(See ECF Doc. 78). For purposes of judicial efficiency and economy such facts

regarding the outstanding due process claims are incorporated herein and made part

hereof.1

                            II. FURTHER BACKGROUND

         In this case, Mr. Lang’s detention does not accord with due process. Lang is

a 27-year-old man, with extensive ties to the community, who has no prior

convictions for violent or serious conduct; notably only has one minor drug related

blemish on his record. On January 6, Lang did not remove barriers, did not possess




1
  Specifically, Dr. Berrill’s Report and Opinion filed as an exhibit to Lang’s due process claims is
incorporated to this application, and will be further backed up with a secondary report of Dr. Berill
regarding Lang’s lack of dangerousness to any individual or the community.

                                           Page 3 of 24
        Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 4 of 24




any weapons and did not encourage or assist anyone else to do any of those things.

Thus, neither his background, nor his alleged criminal conduct “make[s] clear that

he poses a concrete prospective threat to public safety” as Munchel requires. See

United States v. Klein, 533 F.Supp.3d 1 (D.D.C. 2021) (Bates, J.) (releasing

defendant who engaged in violence, based on defendant’s history and characteristics,

and not finding a prospective risk). Here, the superseding indictment (“SI”) and other

records in this case show that Mr. Lang:

      (1)    Was not physically present in the interior Capitol/ senate chambers/
             and/ or congressional offices;

      (2)    did not tear down any fencing;

      (3)    did not discuss a plan to attack the Capitol with any other J6 defendant;

      (4)    was not privy to any plan to attack the Capitol on January 6 th;

      (5)    had zero group affiliation on January 6th;

      (6)    acted alone to protect his life and others;

      (7)    did witness officers brutally beating an unarmed female and various
             other men;

      (8)    did beg and plead with officers to stop violence at one point because
             people were being crushed to death;

      (9)    did save Phillip Anderson and Thomas Tatum’s lives by pulling them
             out of the crowd, where Roseanne Boyland died;

      (10) did not possess any weapons, anti-government reading material or
           paraphernalia, as no such materials were seized from Lang’s
           apartment, upon being arrested; and
                                     Page 4 of 24
           Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 5 of 24




         (11) Mr. Lang and his family have an established history of respect for
              the legal system, law enforcement and the Courts, and there is not a
              single showing, outside of the instant allegations, of opposition
              towards any member of the government, or legal system.

(See Superseding Indictment at ECF 36; See also Detention Hearing transcripts

attached as Exhibit A).

         Respectfully, these allegations along with Lang’s history do not support that

no set of conditions could reasonably assure his appearance in court, as it would be

inappropriate and unfounded to conclude that he is a future danger. 18 U.S.C. §

3142(e)(1).2 Thus, the limited issue here is whether Lang should be immediately

released under the Bail Reform Act (“BRA”)’s subsection (i), which should be

narrowly applied to pretrial detainees when its “necessary for preparation of the

person’s defense or for another compelling reason.” 18 U.S.C. § 3142(i).

         The BRA stresses 3 liberty as the norm, and only in extreme cases does

detention apply. The conditions Lang requested, along with his history of

upstanding citizenship, present no reasonable, articulable reason the

Government can articulate as to how Jake presents an identifiable threat to his




2
 The government has not advanced an argument that Lang is a flight risk, thus, such issue need
not be addressed at this time.
3
    On December 31, 2020, the Bond Reform Act of 2020 was presented in Congress.
                                         Page 5 of 24
          Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 6 of 24




community or local law enforcement. Further, all of Lang’s communications,

social media accounts, and movements can be monitored on home-detention.

      Lang’s case also stands for a few other principles. First, how better access

to discovery can present the constitutionally afforded with the best defense;

second, when a defendant has established, for approximately two years, that he

is an asset in reviewing discovery and has countlessly sought to be involved in

his own defense, then release is necessary to comport with the Sixth

Amendment; and third, how a particular defendant’s confinement substantially

prejudices his ability to communicate and assist in his defense, and such

prejudice applies to a BRA analysis under subsection (i).

     A.      LANG’S A BILITY TO PREPARE A D EFENSE HAS BEEN
             SUBSTANTIALLY PREJUDICED, AND THE PROSPECT OF A DISTANT
             TRIAL IN 2023.

      Lang’s story in the last 22-months is troublesome. As jail policies drastically

differ from jail-to-jail, being continuously transferred makes it extremely difficult

for everyone, even defense counsel, to communicate with Lang.

      Lang was arrested in January 2021 and most recently transferred to

Lewisburg, PA. This marks the eleventh (11 th) jail Lang has been detained at

since his arrest. Each time lawyer-client communication is established, Lang

gets transferred again, only for us to have to start all over again and become

familiar with that particular facility’s policies.

                                     Page 6 of 24
        Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 7 of 24




      Again, throughout this entire time detained, all of Lang’s communications

have continued to be monitored by the Marshals and whatever Jail he is at – at any

given time. While Jake’s alleged actions on J6 do not define him as a person, and he

remains not convicted of any crime, the Marshal makes allegations such as:

            Per the request of the Sheriff in Alexandria, yesterday
            afternoon the USMS moved defendant Edward Lang
            USMS# 76480-054, to Rappahannock Regional Jail in
            Stafford, VA.

(See US Marshal Email dated October 8, 2022).

            ...

            Per Sgt. Foster of Rappahannock Regional Jail, per his
            superintendent they want Lang moved. Since he was
            placed in administrative segregation the facility has been
            receiving numerous calls regarding why Lang is in
            administrative segregation. Sgt. Foster also said Lang is
            refusing to eat while he is in administrative segregation.
            Lang did use the phone Sunday while he was in
            administrative seg, and therefore he believes that’s why
            they are receiving phone calls from various people
            regarding Lang’s status.

            Per Sgt Foster they do not want to keep Lang in
            Segregation for a long period of time. I asked the facility
            if they can withhold giving him a tablet once he returns to
            his unit and their response was no. That would be to taxing
            on his staff to attempt to monitor just the one defendant.

            I asked Sgt. Foster if defendants can only make calls to
            people on their assigned phone list and he said no. The
            tablets are set up to where they can call anyone.

(See US Marshal Email dated October 31, 2022).


                                    Page 7 of 24
         Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 8 of 24




       While at Lewisburg, the policy is that defense counsel will have to provide

the government with a hard drive, and then the government will have to facilitate

Lang’s ability to review his electronic discovery. This policy presents numerous

concerns, as there are three hard drives that defense counsel has already spent

weeks putting together and then hours traveling to DC jail to deliver such hard

drive to the facility. These hard drives, except one, never made it to Lang, have

all mysteriously disappeared 4 and were not transferred with any of Lang’s

property, as he is continuously moved around the country to different jail

facilities.

       Additionally, Lang’s current facility is hundreds of miles from the

courthouse, and from defense counsel’s properties, and work office. Lang’s

parents and family must also travel hundreds of hours to such facility, with the

hope of being granted access to see their loved one.

       By its own description, the government has produced an enormous amount

of discovery material in this case, which remains uncompleted. The current

schedule in place is: “Discovery due by 1/20/2023. Exhibit List due by

3/24/2023. Motions due by 2/3/2023. Proposed Voir Dire due by 3/24/2023.

Proposed Jury Instructions due by 3/24/2023. Pretrial Statement due by



4
 None of the three hard drives, which again took defense counsel weeks and countless hours to
put together have been returned to counsel.
                                        Page 8 of 24
        Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 9 of 24




3/24/2023. Responses due by 2/24/2023 Replies due by 3/3/2023.” (See

11/28/2022 Minute Order). Trial has been rescheduled to as follows: “Jury Trial

RESET for 5/29/2023 at 09:00 AM”. (See 10/24/2022 Minute Order).

      Lang must be granted temporary release because such step is necessary to

provide him the necessary “preparation of the person's defense, or for another

compelling reason.” 18 U.S.C. § 3142(i). First, Lang’s temporary release is

necessary for the preparation of his defense; and, second, Lang can be released

to the custody of the an “appropriate person.” United States v. Dhavale, No. 19-

mj-00092, 2020 U.S. Dist. LEXIS 69800, at *12-13 (D.D.C. Apr. 21, 2020).

      Other compelling reasons for release are that Lang has already been

incarcerated for 22-months, and his trial is not scheduled for another six months.

Further, there is no definitive date as to when the appellate decision on the §1512

count will be decided, or if another issue will arise before May 2023, which will

require a further extension of his trial. Lastly, discovery in this case is

voluminous, and Lang has stressed his willingness and eagerness to not only

participate in his own defense, but to also be a vital part of discovery review and

his trial preparation.

      B. LANG’S PRIOR DETENTION DECISION.

      This Court in denying Jake bond focused on the belief that “Lang does pose a

threat to future violence . . .   [because he] views the current United States

                                    Page 9 of 24
       Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 10 of 24




government as illegitimate, and it is at least possible he may not comply with future

legal orders or respect the rule of law.” (Tr. at p. 72- 73). This Court also held that,

“Mr. Lang’s history and characteristics, perhaps we could suggest that some

conditions of release might be possible without further violence or risk of flight,

although some of that evidence is quite the contrary.” (Tr. at p. 76.).

      This Court also determined that the conditions of confinement and denial of

attorney client-privilege issues are not a factor that the Court can consider when

considering a bond application under the BRA. However, Lang’s pretrial detention

is degrading his Fifth and Sixth Amendment rights, as he is unable to view nearly

any evidence in his case, or virtually confer with counsel. Because there is no

statutory basis for detention under § 3142(f) and there are conditions that reasonably

assure public safety, indeed virtually guarantee it, he must be released so that he can

adequately prepare for trial against novel claims the government has charged. If

these conditions and facts do not satisfy the BRA, under which liberty is the norm,

the precedent set by this case will be dangerous.




                                     Page 10 of 24
       Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 11 of 24




                            III. LEGAL STANDARD

             In our society liberty is the norm, and detention prior to
             trial or without trial is the carefully limited exception. The
             Bail Reform Act of 1984 authorizes one of those carefully
             limited exceptions by providing that the court “shall
             order” a defendant detained before trial if it “finds that no
             condition or combination of conditions will reasonably
             assure the appearance of the person as required and the
             safety of any other person and the community.” 18 U.S.C.
             § 3142(e).

             ...

             Thus, a defendant’s detention based on dangerousness
             accords with due process only insofar as the district court
             determines that the defendant's history, characteristics,
             and alleged criminal conduct make clear that he or she
             poses a concrete, prospective threat to public safety.

United States v. Munchel, 991 F.3d 1273, 1279-80 (D.C. Cir. 2021) (quoting United

States v. Salerno, 481 U.S. 739, 755 (1987)).

      Additionally, § 3142(i) must be carefully reviewed as it was in Ryan Nichols

case. (See US v. Ryan Nichols, 1:21-CR-00117 (TFH) at ECF Doc. 150). Section

3142(i) highlights that after an initial determination of pre-trial detention, the Bail

Reform Act provides that a “judicial officer may, by subsequent order, permit the

temporary release of the person, in the custody of a United States marshal or another

appropriate person, to the extent that the judicial officer determines such release to

be necessary for preparation of the person’s defense or for another compelling

reason.” 18 U.S.C. § 3142(i).

                                     Page 11 of 24
        Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 12 of 24




       Under this statutory provision, the defendant otherwise subject to pretrial

detention, may be granted temporary release by showing the presence of two (2)

factors: (1) that his temporary release is necessary for the preparation of his defense

or another compelling reason; and, (2) that he could be released to the custody of the

an “appropriate person.” United States v. Dhavale, No. 19-mj-00092, 2020 U.S.

Dist. LEXIS 69800, at 12-13 (D.D.C. Apr. 21, 2020).

                                     IV. ARGUMENT

       A.      RELEASE IS NECESSARY BOTH FOR THE PREPARATION OF LANG ’S
               DEFENSE AND FOR OTHER COMPELLING R EASONS.

       From the DC Jail to the Rappahannock Regional Jail, each facility Lang

has been transferred to have engaged in a pattern of behavior that equates to

retaliating against Lang through unlawful inhumane treatment. For example,

there have been numerous raids on Lang’s cell, one in particular was just a day

after Trump’s Florida residence was raided. Each facility does not want Lang in

the particular jail, so the jail’s staff and personnel will stop at nothing to ensure

circumstances that warrant the Marshals to immediately transfer Lang.5 Such

circumstances establish a retaliatory motive against Lang. The recent raid of the

Defendant’s cell shows the Jails intend to escalate and continue their unlawful


5
  See US Marshal Emails, supra (highlighting “Per the request of the Sheriff in Alexandria,
yesterday afternoon the USMS moved defendant Edward Lang . . . to Rappahannock Regional
Jail” . . . . “Per Sgt. Foster of Rappahannock Regional Jail, per his superintendent they want Lang
moved.”).
                                          Page 12 of 24
          Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 13 of 24




conduct in retaliation of Lang due to him being outspoken. If such jail behavior

is allowed to continue, the predictable possible results will be Lang suffering

further abuse, probable adverse effects on his cognition and on his ability to

prepare for trial.

       B.      LANG’S ABILITY TO P REPARE FOR TRIAL IN THE JAIL HAS BEEN
               IRREPARABLY COMPROMISED BY THE JAIL’S U NLAWFUL
               CONDUCT AGAINST LANG, AND THE CONFISCATION AND
               DESTRUCTION OF HIS DISCOVERY MATERIALS.

       A pretrial detainee generally is “hindered in his ability to gather evidence,

contact witnesses, or otherwise prepare his defense.” United States v. Ali, 965

F. Supp. 2d 139, 151-52 (D.D.C. 2013) 6 (citing Barker v. Wingo, 407 U.S. 514,

520, 533 (1972)). When discussing pretrial incarceration, the Barker court

stated:

               We have discussed previously the societal
               disadvantages of lengthy pretrial incarceration, but
               obviously the disadvantages for the accused who
               cannot obtain his release are even more serious. The
               time spent in jail awaiting trial has a detrimental impact
               on the individual. It often means loss of a job; it
               disrupts family life; and it enforces idleness. Most jails
               offer little or no recreational or rehabilitative programs.
               The time spent in jail is simply dead time. Moreover, if
               a defendant is locked up, he is hindered in his ability to
               gather evidence, contact witnesses, or otherwise
               prepare his defense. Imposing those consequences on
               anyone who has not yet been convicted is serious. It is
               especially unfortunate to impose them on those persons

6
 DC Court of Appeals reversed Ali, reversing the district Court decision to place Ali on home
confinement.
                                         Page 13 of 24
       Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 14 of 24




                who are ultimately found to be innocent. Finally, even
                if an accused is not incarcerated prior to trial, he is still
                disadvantaged by restraints on his liberty and by living
                under a cloud of anxiety, suspicion, and often hostility.

Barker v. Wingo, 407 U.S. 514, 532–33 (1972)

      The Ali Court also emphasized the following:

                Pretrial detention limits defense counsels' access to
                their client and thus limits counsels' ability to prepare
                effectively for trial and to prepare the defendant to
                testify. Moreover, the physical and psychological toll
                of pretrial detention, particularly a detention lasting for
                several years, where the defendant is effectively cut off
                from everyone but his attorneys, can significantly affect
                a defendant's ability to participate in his own defense.

(Id. at 520).

      The “lengthy exposure to these [pretrial detention] conditions [having] a

destructive effect on human character” and “the physical and psychological toll

of pretrial detention” in this case bears a striking resemblance to the Barker and

Ali case. Id.

      The Ali Court found “a disregard for Ali's constitutional rights, as well as

the depressing reality of conditions at the D.C. Jail” because the defendant – as

a pretrial detainee – was punished without a timely hearing for allegedly

possessing “major contraband” in the form of a USB drive containing

educational materials. Id. The Court found the DC Jail’s conduct “exemplifies

the exceedingly harsh conditions that pretrial detainees face while awaiting

                                        Page 14 of 24
       Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 15 of 24




trial” and “points strongly to a denial of due process.” Id. (citing Gonzales

Claudio, 806 F.2d 334, 341(2d Cir. 1986).

      In Gonzalez the court found that “pretrial detention of defendants without

bail for more than 14 months violated due process clause of the Fifth

Amendment, though defendants' presence at trial could not be reasonably

assured in any other fashion, where Government's delay in complying with

defendants' discovery request had contributed to length of pretrial detention,

where there was no evidence that either defendant had ever fled from lawful

authority or failed to honor court orders, and where Government estimated that

defendants' trial would not be concluded until almost two years and two months

had passed from day they were incarcerated.” United States v. Gonzales

Claudio, 806 F.2d 334 (2d Cir. 1986) (citing U.S.C.A. CONST. AMEND. 5; 18

U.S.C.A. § 3142(e)). Similar to the case in Gonzalez, a trial would conclude a

significant amount of time away from when Lang was incarcerated. Further, like

in Gonzalez, the government’s delay in concluding discovery has resulted in the

case has contributed to the case not being ready for trial.

      An additional factor that the Ali Court accordingly weighed in favor of the

Defendant was the length of defendant’s pretrial detention. Id. Here, Lang has

been a pretrial detainee for approximately 22-months.




                                   Page 15 of 24
       Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 16 of 24




      As highlighted in the pending Due Process Motion(ECF #69) and Reply

(ECF #78), Lang has been subject to continuous violations and infringements

that have made it impossible for him to prepare for trial. As of recent, at the

current Lewisburg facility, Lang has not been given a legal line to make calls,

which disallows him from communicating with his attorney, investigators or

witnesses, has been denied legal calls multiple times, has had his meetings

intentional shortened or canceled, has inappropriately had his legal calls spied

on and monitored, and has not been given access to research via Evidence.com,

Realitevely.com and Everlaw.com. Further, on December 15, 2022, during a

“confidential” legal call, staff members were eavesdropping and stated that they

knew who was in the video call.

      In all the institutions Mr. Lang has been housed at he suffers the same

crippling circumstances to his legal case which deny him his right to amply

prepare for his trial and therefore denying him his constitutional right to a fair

trial. The amount of times his cell has been raided in 23 months, the raw amount

of data, privileged correspondences, and legal notes on discovery that have been

corrupted and exposed in these raids and confiscations is utterly baffling. The

amount of legal calls he has been denied, and overall access to be able to build

his case in any meaningful way would not possibly fit within this motion, if

given the details of every instance. These abridgements are systematically

                                   Page 16 of 24
       Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 17 of 24




applied in every institution and will not be remedied until Mr. Lang is freed to

prepare for his trial.

      C.     THE SHEER LENGTH OF LANG ’S PRETRIAL CONFINEMENT                 IS A
             VIOLATION OF HIS DUE PROCESS RIGHTS.

      Lang has been detained without trial for 22 months in violation of his due

process rights. Pretrial detention violates due process when it “become[s]

excessively prolonged, and therefore punitive” rather than regulatory. United

States v. Salerno, 481 U.S. 739, 747-48 & 747 n.4 (1987).

      The length of pretrial detention is excessive when it is no longer related

to its regulatory purposes, including protecting the public from dangerous

defendants and ensuring that they will not flee. United States v. Torres, 995 F.3d

695, 709-10 (9th Cir. 2021). There is no set time when pretrial detention crosses

the line from regulatory to punitive because due process is a flexible concept

and, thus, its limits depend on the facts of the case. United States v. Zannino,

798 F.2d 544, 547 (1st Cir. 1986).

      However, courts consider six factors when evaluating whether the length

of pretrial detention violates due process:

      (1)    the seriousness of the charges;
      (2)    the strength of the government’s proof that the
             defendant poses a risk of flight or a danger to the community;
      (3)    the strength of the government's case on the merits;
      (4)    the length of the detention;
      (5)    the complexity of the case; and

                                   Page 17 of 24
         Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 18 of 24




      (6)     whether the strategy of one side or the other has added needlessly
              to that complexity.

United States v. Accetturo, 783 F.2d 382, 388 (3d Cir. 1986); see also United

States v. Hare, 873 F.2d 796, 801 (5th Cir. 1989); United States v. Ojeda Rios,

846 F.2d 167, 169 (2d Cir. 1988); United States v. Zannino, 798 F.2d 544, 547

(1st Cir. 1986) (same); United States v. Theron, 782 F.2d 1510, 1516 (10th Cir.

1986).

      The First Circuit has highlighted “we shall assume that in many, perhaps

most, cases, sixteen months would be found to exceed the due process limitations

on the duration of pretrial confinement.” Zannino, 798 F.2d at 547-48. In

Zannino, with regards to the first factor, the charges were “of the gravest order,

including predicate acts of murder and conspiracy to commit murder.” Id. Here,

despite Lang’s charges being incomparable to the defendant in Zannino charges,

Lang has been detained for many more months. The third factor described the

government's case on the merits as “strong”. Regardless, the Zannino Court

found that sixteen months would have been unconstitutionally excessive for

pretrial detention. Zannino did, however, delay his trial.

      Similarly, the Second Circuit condemned, as unconstitutionally excessive,

the fourteen (14) month detention of two defendants charged with robbery.

United States v. Gonzales Claudio, 806 F.2d 334, 343 (2d Cir. 1986).



                                   Page 18 of 24
       Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 19 of 24




      Likewise, the Ninth Circuit recently stated that a twenty-one-month

detention is "significant under any metric and is deeply troubling". Torres, 995

F.3d at 709. The Torres case’s finding of “deeply troubling” involved a

defendant who was convicted of drug related crimes five-times before, had an

outstanding warrant when arrested, a gun with live ammunition, and 64 grams

of methamphetamine. Torres, 995 F.3d at 709.

      Courts not only consider the time already spent in detention, but also “the

non-speculative nature of future detention,” i.e., the time until trial, and the

length of the trial. Compare Hare, 873 F.2d at 801; Compare to Ojeda Rios, 846

F.2d at 168-69. In Ojeda Rios, the Second Circuit ordered the release of the

defendant even though the district court found that the defendant “posed a risk

of flight and also presented a danger to the community.” Id. The Ojeda Rios

Court highlighted the length of Defendant’s confinement and the fact that the

trial was anticipated to take months. Id. In doing so, the court found “we do not

believe that due process can tolerate any further pretrial detention in this case.”

Id.

      Here, Mr. Lang is neither a flight risk nor a danger to the community. His

pretrial detention of 22 months in this matter should be considered “troubling”.

Torres, 995 F.3d at 709. Regarding the complexity of the case, jail-after-jail-

after-jail has deprived Lang of his basic human rights such as the denial of

                                   Page 19 of 24
       Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 20 of 24




religious services and basic hygiene. His right to counsel remains a daily

struggle, as the jails have literally thrown Lang’s discovery materials in the

trash. The litany of violations can go on and on. (See Lang’s Due Process

Violations at ECF Doc. 69; See also Lang’s Reply Motion at ECF Doc. 78).

      “In determining whether preventive detention violates due process, court must

consider not only factors relevant in initial detention decision, such as, seriousness

of charges, strength of Government's proof that defendant poses risk of flight or

danger to community, and strength of Government's case on the merits, but also

additional factors, such as, length of detention that has in fact occurred or may occur

in the future, nonspeculative nature of future detention, complexity of case, and

whether strategy of one side or the other occasions delay.” U.S.C.A. Const.Amend.

5; 18 U.S.C.A. § 3141 et seq. United States v. Hare, 873 F.2d 796 (5th Cir. 1989).

      Here, the prejudice of Lang’s jail conditions have created has needlessly

added to the complexity of the case. The reasons behind the jails unlawful

conduct on numerous occasions to Lang mostly remain a mystery. Lang

accumulated hundreds of pages of discovery to assist in his defense , only for

such documents to be confiscated. Then to make matters worse, when Lang

requested his materials back, he was informed that all such documents, some of

which contained Defendant’s litigation strategy, were just thrown in the trash.




                                     Page 20 of 24
        Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 21 of 24




       Similar issues exist with the three hard drives defense counsel submitted

to the DC jail for Mr. Lang. Again, these hard drives have been in the jail’s

hands for over a year now. Lastly, the jails clear animosity towards Mr. Lang

has led to various jails complaining about Lang’s communications wi th the

outside world. Logically, the jails are potentially eavesdropping in on all of

Lang’s communications, including his legal calls. 7

       Without a detailed investigation, the defense has no way of definitively

knowing which files the Government may have viewed, copied, altered, or

deleted from these hard drives, or from all the documents that have been

confiscated from Lang’s cell throughout the last year. So, the question remains,

if any sensitive material has made it into the Government’s possession, there is

no way to determine how any such action may effect the Defendant’s trial

strategy.

       Once again, defense concerns of Lang’s legal calls being illegally

monitored will not be easily resolved and will unquestionably add to the

convolution of the case. Further, the Government’s continued discovery dumps

also add to the complexity of the case – which is an additional factor when




7
  During the last legal video call I had with Lang, I was in route from Washington, DC to New
York City. Consequently, I had to sign in such meeting on my I-phone, and could not help but
noticing that every word being said was simultaneously being transcribed at the bottom of my
screen.
                                       Page 21 of 24
       Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 22 of 24




determining release in pretrial detention under Hare. (See United States v. Hare,

873 F.2d 796 (5th Cir. 1989) “…additional factors, such as, length of detention

that has in fact occurred or may occur in the future, nonspeculative nature of

future detention, complexity of case, and whether strategy of one side or the

other occasions delay.”)

      J6 has shown to be an unprecedented crusade to find, detain and prosecute

hundreds of American citizens who were present at the Capitol on January 6,

even for the most minimal non-violent participation.

      The events that took place at the Capitol on January 6 lasted less than four

hours, and have somehow produced the most expansive federal law enforcement

investigation in US history. This is the largest number of defendants prosecuted

on a single event. Further, the nature and volume of the evidence collected has

been as a result of the largest FBI investigation. There are currently over 800

defendants from all 50 states facing charges, with more defendants being

investigated, hunted down, and arrested to this day.

      D.    OTHERS INVOLVED       IN   SIMILAR CONDUCT HAVE BEEN RELEASED
            PRETRIAL.

      Just recently, Judge Hogan released Defendant Nichols after analyzing

Section (i) of the BRA for the limited purpose of determining his necessity and need

to prepare for trial. (See US v. Ryan Nichols, 1:21-CR-00117 (TFH) Minute Entry

as to RYAN TAYLOR NICHOLS (1) for proceeding held on 11/10/22 before Judge
                                   Page 22 of 24
       Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 23 of 24




Thomas F. Hogan: Motion Hearing re 150 Emergency Motion for Release from

Custody. Reports by Counsel regarding conditions of release due by 11/18/2022.

Bond Release Hearing set for 11/22/2022 11:30 AM in Courtroom 26A); (See also

US v. Ryan Nichols, 1:21-CR-00117 (TFH) at ECF Doc. 181).

      On the record, Judge Hogan addressed his understanding that Lewisburg

Facility is not a viable option in ensuring that a Defendant in Nichols’ or Lang’s

position can assist and prepare for his trial adequately.

      Jake was unarmed on January 6th. As a U.S. citizen, he appeared to stand for

Liberty, the Constitution, and assert his First Amendment Rights. Now Lang stands

charged with a 13 count SI, where the last 22 months establishes how necessary it is

for Lang’s temporary release as to afford him the opportunity to prepare for trial

                                  CONCLUSION

      For the aforementioned reasons, this Court should order Mr. Lang’s

immediate release to the custody of his father, Ned Lang, or his mother. For all of

these reasons, and any that may become apparent at a hearing on this matter, Mr.

Lang respectfully submits that the Government has failed to meet its burden by clear

and convincing evidence that he presents a risk of danger to society, in light of all

the recent additional evidence that submitted herein.

      Wherefore, he respectfully requests that this Honorable Court release him on

high intensity supervision and conditions the Court deems necessary.
                                     Page 23 of 24
       Case 1:21-cr-00053-CJN Document 91 Filed 12/16/22 Page 24 of 24




Dated: December 16, 2022

                                        Respectfully Submitted,

                                        /s/ Steven Alan Metcalf II
                                        _______________________________
                                        STEVEN A. METCALF II, ESQ.
                                        Metcalf & Metcalf, P.C.
                                        99 Park Avenue, 6 Flr.
                                                           th


                                        New York, NY 10016
                                        (Office) 646.253.0514
                                        (Fax) 646.219.2012




                          CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing has been served upon counsel
for all parties to this proceeding as identified below through the court’s electronic
filing system as follows:


                                              /s/
                                        ___________________________
                                        STEVEN A. METCALF II
                                        Attorney for Edward Jacob Lang
  Dated: 12/16/22




                                     Page 24 of 24
